      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEBRASKA

TOSUN MAHMUD FITIL,                        )           Case No. __________
                                           )
               Plaintiffs,                 )
                                           )
vs.                                        )
                                           )
CITY OF OMAHA, OMAHA POLICE                )              COMPLAINT
CHIEF TODD SCHMADERER, and                 )
OFFICERS JANE OR JOHN DOES, 1-             )
21, in their individual capacities as      )
employees of the City of Omaha.            )
                                           )
               Defendants.                 )

      Plaintiff Tosun Mahmud Fitil for his Complaint against Defendants City of
Omaha, Omaha Police Chief Todd Schmaderer, and Jane or John Does, 1-21, states
and alleges as follows:

                                 INTRODUCTION

       1.        Plaintiff Tosun Mahmud Fitil is a forty-one-year-old resident of
Omaha, Nebraska. Inspired by calls for racial justice and police accountability
following the death of George Floyd, Mr. Fitil participated in a peaceful protest in
midtown Omaha on May 29, 2020.
       2.        On the evening of May 29, 2020, Mr. Fitil and hundreds of other
peaceful protestors gathered at the area of 72nd and Dodge Street, holding signs
and calling for reform. The protestors were met by dozens of law enforcement
officers in riot gear. Around approximately 10:00 pm, one of the officers launched a
flash bang grenade at Mr. Fitil, directed at his head and face. The grenade
forcefully struck Mr. Fitil and then exploded after striking his head.
       3.        Mr. Fitil sustained serious and permanent injuries.
       4.        The Defendants' response to Mr. Fitil's peaceful demonstration
violated the U.S. and Nebraska Constitutions, and Mr. Fitil has suffered serious
and permanent injuries as a result.




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                                      PARTIES

       5.       Plaintiff Tosun Mahmud Fitil is a forty-one-year-old resident of
Omaha, Douglas County, Nebraska.
       6.       Defendant City of Omaha is a municipality incorporated in the State
of Nebraska which was and is responsible under law for the acts and omissions of
its law enforcement officers, agents, and other employees, including those whose
conduct is at issue in this lawsuit.
       7.       Defendant Todd Schmaderer was, at all times relevant to this action,
the chief policymaker for the Omaha Police Department. He is sued in his
individual and official capacities.
       8.       Defendant Officers Jane and John Does 1–21 are employees with or
agents of the City of Omaha who responded to protests on behalf of the City of
Omaha on May 29 through June 5, 2020. The precise number and identity of these
Defendants is presently unknown to Plaintiff. At all times relevant herein, each of
these Defendants were acting under color of state law and in the scope of their
employment.

                          JURISDICTION AND VENUE

      9.       This Court has original jurisdiction over this matter pursuant to 28
U.S.C. § 1331 because it involves a federal question under 42 U.S.C. § 1983.
      10.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because the
Defendants reside in this judicial district and it is where a substantial part of the
events giving rise to the claims occurred.

                            FACTUAL ALLEGATIONS


      A. George Floyd, Zachary Bear Heels, and the May 29, 2020, Omaha
         Protest
       11.    On May 25, 2020, George Floyd, a Black man, was killed in
Minneapolis, Minnesota by the police. Mr. Floyd was accused of a non-violent
offense. During his arrest, Mr. Floyd fell to the ground, and was handcuffed and
restrained. Minutes later, for no discernible reason, Minneapolis Police Officer




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Derek Chauvin placed his knee—and the weight of his body—on Mr. Floyd's neck as
Mr. Floyd lay pinned to the ground.
       12.     For almost nine minutes, Officer Chauvin pressed his knee into Mr.
Floyd's neck as Mr. Floyd struggled to breathe, pleading for mercy. Instead of
intervening, other officers held Mr. Floyd's legs or stood by, watching as Mr. Floyd
began to die. Among Mr. Floyd's last words were, "Please, please, please, I can't
breathe."
       13.     Mr. Floyd's death was captured on video and broadcast globally,
sparking demonstrations in over 2,000 cities across the country and around the
world.
       14.     Groups of demonstrators throughout the country, including in
Omaha, Nebraska, began gathering on a daily and nightly basis to protest the
systemic injustices perpetuated against Black, Indigenous, and other people of color.
       15.     With limited exceptions, the daily Omaha protests ("the Protests")
were overwhelmingly peaceful. Based on the alleged conduct of a few protesters,
however, Defendants responded by indiscriminately using excessive force and
aggressive dispersal tactics against protestors.
       16.     On June 06, 2017, Zachary Bear Heels, a Sičangu Lakota and Kiowa
Apache man, was killed in Omaha, Nebraska by the police while suffering a mental
health episode. Omaha Police officers encountered Mr. Bear Heels at 60th and
Center Streets, after he had been wandering Omaha in the grips of a schizophrenic
episode and suffering from excessive heat and dehydration. After dragging him
across the parking lot by his braids, the officers tased a completely disoriented Mr.
Bear Heels over 12 times and punched him repeatedly while attempting to arrest
him.
       17.     After restraining him in zip ties, two officers were observed from
footage placing their full weight on Mr. Bear Heels’ back. When officers turned him
over, Mr. Bear Heels was dead.
       18.     Mr. Bear Heels' wrongful death has been commemorated through an
annual Native American Prayer Walk in Omaha, Nebraska since 2017, in part to
protest the excessive and unreasonable use of force by Omaha Police that killed
him. Mr. Fitil has organized and participated in the prayer walk every year since
2017.




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       19.     Prior to the May 29th, 2020 Protests, Omaha Police Chief Todd
Schmaderer publicly criticized the Minneapolis Police Department’s conduct while
defending the Omaha Police Department. Mr. Fitil attended the May 29th, 2020
Protest in part to raise awareness of the similar nature of the brutality by police in
causing the deaths of both George Floyd and Zachary Bear Heels.
       20.     The Defendants' response to the Protests included the use of "less-
lethal" weapons, including, but not limited to, tear gas and other chemical irritants,
flash-bang grenades, bean bags, rubber bullets, Kinetic Impact Projectiles ("KIPs"),
and eXact iMpact Sponge Rounds.
       21.     Defendants deployed chemical irritants both by targeting specific
protestors and by launching canisters into a crowd, releasing the irritants
indiscriminately in every direction.
       22.     Defendants also deployed flash-bang grenades at protestors. When
these weapons detonate, they generate loud noise and bright light. Defendants used
this weaponry without any training or instruction as to its use as an alleged "crowd
control" mechanism.
       23.     In addition, Defendants shot bean bags, rubber bullets, KIPs, and
eXact iMpact Sponge Rounds at protestors.
       24.     Tear gas can be lethal. Tear gas exposure can severely impact those
with asthma and can trigger a fatal asthma attack. Even when not directly lethal,
exposure to tear gas can increase the risk of developing acute respiratory illnesses.
       25.     Pepper balls can be lethal. Pepper balls are plastic balls fired at high
velocity from an air-propelled gun. Pepper balls explode on impact, releasing an
intense chemical irritant into the air.
       26.     Flash-bang grenades can be lethal. Flash-bang grenades are military-
style explosives intended to stun and disorient people with light and loud sound,
and are designed to temporarily blind or deafen people. The use of these weapons
can cause serious injuries, like blowing off appendages, or even death. They can also
damage eardrums, cause prolonged ear pain, harm the retina, and lead to burns,
concussions, and psychological trauma. They are particularly dangerous if they
detonate close to a person.




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      B. Tosun Mahmud Fitil

       27.      At all relevant times, Plaintiff Tosun Mahmud Fitil was a thirty-
eight-year-old resident of Omaha, Nebraska.
       28.      Mr. Fitil participated in the Protests on May 29, 2020, to protest the
killing of Zachary Bear Heels and George Floyd.
       29.      Mr. Fitil carried a sign condemning the death of Zachary Bear Heels,
who was killed by Omaha Police Department officers in 2017.
       30.      Mr. Fitil gathered with other protestors to peacefully demonstrate
near 72nd and Dodge Street.
       31.      Although the demonstration was non-violent, law enforcement
officers arrived dressed in riot gear and armed with weapons.
       32.      At approximately 10:00 p.m., without any audible warnings, officers
marched toward the protestors. They began deploying pepper balls, flash-bang
grenades, and tear-gas canisters indiscriminately into the peaceful crowd.
       33.      Protestors attempted to leave the scene, but their movement was
restricted as the Defendant Officers and their vehicles blocked points of entry and
exit. Chemical irritants, including gas canisters and pepper balls, exploded directly
in front of Mr. Fitil and other protestors, impairing their vision and further
restricting mobility.
       34.      As Mr. Fitil stood on the sidewalk peacefully holding his sign, he
witnessed officers shooting pepper balls indiscriminately at a group of young people
standing nearby, who were also peacefully protesting.
       35.      Mr. Fitil stepped towards the young protestors, attempting to place
himself between them and the officers out of concern for their safety. He implored
the officers to stop harming the peaceful protestors
       36.      Mr. Fitil witnessed a John Doe Officer look at him, aim a weapon
directly at him, and fire a projectile toward Mr. Fitil's head from close range.
       37.      At the moment John Doe Officer aimed and shot him, Mr. Fitil's sign
condemning the Omaha Police Department's killing of Zachary Bear Heels was
plainly visible to the officer.
       38.      On information and belief, this projectile was a flash-bang grenade or
a similar concussive or explosive agent.




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       39.      The flash-bang grenade slammed into the back of Mr. Fitil's head
with incredible force, causing a laceration.
       40.      The explosion was deafeningly loud and ruptured Mr. Fitil's
eardrum. An incendiary agent released in the explosion burned Mr. Fitil's skin and
singed holes in his clothing.
       41.      Shocked and disoriented, Mr. Fitil tried to move away. As he
attempted to retreat, there was a second explosion near his left side.
       42.      Mr. Fitil collapsed and lost consciousness. When he regained
consciousness, he was incapacitated. His shirt was on fire. Other protestors assisted
him by pouring water on him.
       43.      Mr. Fitil once again attempted to retreat, this time towards the
parking lot, injured, disoriented, and stumbling. The John Doe Officers continued to
block his retreat, shouting for him to "move back" while advancing.
       44.      At no point prior to shooting him with the grenade, did the John Doe
Officer warn Mr. Fitil that he would be shot or provide an opportunity for Mr. Fitil
to retreat or comply.
       45.      At no time prior to being shot did Mr. Fitil's actions give any
indication that he was committing a crime or posed any threat to the public safety
or law enforcement.
       46.      The flash-bang grenade launched by the John Doe Officer caused Mr.
Fitil serious and permanent injuries, including permanent hearing loss; tinnitus; a
traumatic brain injury and severe concussion resulting in persistent and disabling
headaches and migraines, balance and mobility issues, and post-traumatic stress
disorder. These injuries resulted in the need for vestibular rehabilitation, the use of
a cane, sensitivity to light and sound, loss of sensation in his legs, "drop foot," and
impaired concentration.
       47.      Based on the scene as it would have appeared to the Defendant
Officer(s) at the time the flash-bang grenade was launched at Mr. Fitil, there was
no reasonable basis for launching the grenade at or near him or any other
individuals gathered on the sidewalk.




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      C. Municipal and Joint Liability.

        48.     Omaha Police Chief Todd Schmaderer has a sufficiently senior role
such that his decisions may fairly be said to represent official policy of the City of
Omaha.
        49.     Upon information and belief, Chief Schmaderer and other key
policymakers (collectively, "Officials") met, discussed, and approved the use of
weaponry, including flash-bang grenades, chemical irritants, KIPs, rubber bullets,
and eXact iMpact Sponge Rounds, in advance of the May 29, 2020 demonstrations
in Omaha, Nebraska.
        50.     All of the foregoing Defendants, including the individual officers
present, agreed with and assisted each other to approach the group of peaceful
protesters; to use flash-bang grenades and other means of “less-lethal” force for the
purpose of dispersing the protesters; lent their support and the authority of their
office to each other; failed to intervene to prevent the indiscriminate, excessive and
unlawful use of flash-bang grenades and other "less-lethal" weapons; and advised,
assisted, ratified and/or directed the actions and inactions resulting in the severe
injuries suffered by Mr. Fitil.
        51.     The extent of cooperation by and between law enforcement agencies
and Defendant Officers is reflected in the Omaha Civil Unrest Report created by
Chief Schmaderer in October 2020. The report indicates that "officers from different
precincts or even neighboring agencies were mixed together" and that "support from
outside agencies was imperative to the success of the overall mission."
        52.     In the months following the protests, and the severe injuries suffered
by Mr. Fitil, Officials ratified the use of flash-bang grenades and other "less-lethal"
weapons against the crowds. For his part, Chief Schmaderer stated that OPD
officers "carried themselves, as a whole, really professionally" and that he was
"proud of [OPD's] patience." He publicly declared that in a review of officers' conduct
during the protests, OPD found only three instances of excessive use of force out of
123 documented instances.
        53.     Additionally, the Officials received notice during the May 29, 2020
protests that officers were indiscriminately using "less-lethal" force against
protestors to control and suppress demonstrations in the absence of any imminent




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threat to safety, including through widely publicized photos and videos, citizen
complaints, and firsthand accounts circulated through the press and social media.
       54.      Despite receiving notice, the Officials failed to take swift action
sufficient to remedy the ongoing violations of protestors' constitutional rights by
officers, including by failing to train, supervise, or discipline officers or issue
corrective policies to prevent further violations.
       55.      Instead, the Officials continued to authorize the use of "less-lethal"
force to control demonstrations even while acknowledging that the majority of
protestors had been peaceful.
       56.      The Officials also acted with deliberate indifference in equipping
their officers with chemical munitions and "less-lethal" weaponry, including flash-
bang grenades, without proper training and instruction. In his Omaha Civil Unrest
Report, Chief Schmaderer acknowledged that training for large protest events is
"typically minimal." In particular, he noted a lack of training related to use of force
in "a crowd management/civil disorder situation."
       57.      Because OPD officers received minimal training in crowd control
methods, including the use of "less-lethal" weapons, Chief Schmaderer admitted the
protests themselves served as a training of sorts, where "officers gained valuable
experience that was reflected in improvements that were made" each day. The
unconstitutional consequences of equipping officers with supposed "crowd control"
weaponry they do not know how to use are patently obvious.
       58.      The Officials acted with deliberate indifference to Plaintiff's
constitutional rights by authorizing, both explicitly and implicitly, the
indiscriminate use of "less-lethal" force against protestors who did not pose any
safety threat; by failing to properly train officers on the use of "less-lethal"
weaponry, including flash-bang grenades, as a "crowd dispersal" technique; by
failing to supervise and discipline officers regarding appropriate use of force against
protestors; and by failing to rectify OPD's unconstitutional custom of using "less-
lethal" force to control and suppress demonstrations.

                            FIRST CAUSE OF ACTION

      Violation of the First Amendment / Retaliation – 42 U.S.C. § 1983




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        59.     Plaintiffs re-allege and incorporate by reference all of the preceding
paragraphs.
        60.     Defendants' decision to launch a flash-bang grenade at Mr. Fitil
violates the First Amendment in at least five ways: (i) as unconstitutional
retaliation for expressive conduct protected under the First Amendment; (ii) as a
violation of the right to peaceably assemble; (iii) as an unconstitutional restriction
to a traditional public forum; (iv) as unconstitutional content and viewpoint-based
discrimination; and (v) as a violation of Mr. Fitil's right to record matters of public
interest.
        61.     Defendants have adopted and/or ratified municipal policies,
practices, and customs that have caused the violations complained of herein and, in
the alternative, have actual or constructive notice of the constitutional violations
described herein and have failed to take action, thereby allowing the continuation of
such a policy or custom, and causing the harms complained of herein.
        62.     Mr. Fitil's rights to assemble, protest, and demonstrate peaceably are
all protected activities under the First Amendment of the United States
Constitution.
        63.     Defendants, including John Doe Officers 1–21, acted under the color
of state law when they deprived Mr. Fitil of his rights to assemble, protest, and
demonstrate peaceably by striking him with a flash-bang grenade that
subsequently exploded near his head. Defendants' use of force against Mr. Fitil and
other similarly situated protestors was substantially motivated by the protesters'
and Mr. Fitil's engagement in First Amendment-protected activity, constituted an
effort to deter future similar activity, and evidences a pattern or practice of
unconstitutional conduct that is certain to continue absent any relief.
        64.     The above-described conduct was, and continues to be, a proximate
cause of Mr. Fitil's pain and suffering and has chilled his desire to participate in
future protests.
                            SECOND CAUSE OF ACTION

              Violation of the Fourth Amendment – 42 U.S.C. § 1983

      65.      Plaintiffs re-allege and incorporate by reference all of the preceding
paragraphs.




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       66.     Mr. Fitil did not commit a crime, and was not suspected of
committing a crime.
       67.     Mr. Fitil did not pose a threat to Defendants or any of their officers or
agents or any other person.
       68.     Mr. Fitil was seized by Defendants when Defendants' officers
intentionally, by kettling and through the use of force and flash-bang grenades,
terminated his freedom of movement.
       69.     Defendants' use of chemical irritants, flash-bang grenades, KIPs,
rubber bullets, and eXact iMpact Sponge Rounds to effect the seizure was
objectively unreasonable and violated Mr. Fitil's protections against being
unlawfully seized and subjected to excessive force.
       70.      Defendants acted under the color of state law when Defendants
committed these acts and, as a result, Defendants' acts were objectively
unreasonable and constituted unlawful seizure and excessive force.
       71.     Mr. Fitil fears further retaliation in the future in violations of the
Fourth Amendment if he continues to observe, record, or participate in
constitutionally protected activity.
       72.     As a direct and proximate result of Defendants' unlawful actions, Mr.
Fitil endured pain and suffering.

                           THIRD CAUSE OF ACTION

                        Civil Conspiracy – 42 U.S.C. § 1983

       73.     Plaintiffs re-allege and incorporate by reference all of the preceding
paragraphs.
       74.     The municipal policymakers and John Doe Officers, many of whom
were from different law enforcement agencies, reached a mutual understanding to
take a course of conduct including, but not limited to, the use of flash-bang grenades
and other weaponry on protestors exercising their First Amendment rights to Free
Speech and Assembly.
       75.     The municipal policymakers and John Doe Officers reached a mutual
understanding to effectuate the kettling, arrest, and detention of protestors
exercising their First Amendment rights.




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       76.      After reaching this consensus, municipal policymakers directed
officers under their control and supervision to execute the unconstitutional activity
described above. The John Doe officers joined the conspiracy when they agreed to
participate in said activity.
       77.      The plan and conspiracy were furthered by overt acts including, but
not limited to, the kettling and seizing of Mr. Fitil, and the firing of "less-lethal"
weaponry, including flash-bang grenades, at peaceful protestors like Mr. Fitil.
       78.      Subsequent reports confirm the Defendants' plan and coordination
regarding the indiscriminate use of "less-lethal" weaponry on peaceful
demonstrators.
       79.      Defendants acted with discriminatory animus toward the protestors,
and against Mr. Fitil, intending to deny the equal protection of the law to Mr. Fitil,
those who associated with the Black Lives Matter movement, and those protesting
the death of Zachary Bear Heels by Omaha Police Department officers
       80.      As a direct and proximate cause of the conspiracy between the
Defendant Officers and others, Mr. Fitil was subjected to the deprivation of his
First and Fourth Amendment rights, and was severely and permanently injured.
       81.
                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully requests an Order as follows:
       1. Special damages for the cost of his medical care in an amount to be
          proven at trial;
       2. Compensatory damages for the violations of his constitutional and
          statutory rights, all to be determined according to proof;
       3. Punitive damages;
       4. Attorneys' fees pursuant to 42 U.S.C. § 1988;
       5. Costs of suit;
       6. Pre- and post-judgment interest; and
       7. Such other and further relief as the Court may deem just and proper.

                           DEMAND FOR JURY TRIAL
Plaintiff demands trial by jury on all issues so triable.




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         Dated this 21st day of October, 2022.


                                                 Tosun Mahmud Fitil, PLAINTIFF.

                                         BY:      /s/ Brian J. Fahey
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